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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                                      CASE NUMBER:

RICHARD ODELLO
                                                         2:16−cv−03591−MWF−SK
                                      Plaintiff(s)

        v.
SURVEY SAMPLING INTERNATIONAL, LLC, et
al.
                                                                NOTICE TO PARTIES OF
                                                            COURT−DIRECTED ADR PROGRAM
                                    Defendant(s).




NOTICE TO PARTIES:
      It is the policy of this Court to encourage settlement of civil litigation when such is in the
best interest of the parties. The Court favors any reasonable means, including alternative
dispute resolution (ADR), to accomplish this goal. See Civil L.R. 16−15. Unless exempted by
the trial judge, parties in all civil cases must participate in an ADR process before trial. See
Civil L.R. 16−15.1.
      The district judge to whom the above−referenced case has been assigned is participating
in an ADR Program that presumptively directs this case to either the Court Mediation Panel or
to private mediation. See General Order No. 11−10, §5. For more information about the
Mediation Panel, visit the Court website, www.cacd.uscourts.gov, under "ADR."
     Pursuant to Civil L.R. 26−1(c), counsel are directed to furnish and discuss with their
clients the attached ADR Notice To Parties before the conference of the parties mandated by
Fed.R.Civ.P. 26(f). Based upon the consultation with their clients and discussion with opposing
counsel, counsel must indicate the following in their Joint 26(f) Report: 1) whether the case is
best suited for mediation with a neutral from the Court Mediation Panel or private mediation;
and 2) when the mediation should occur. See Civil L.R. 26−1(c).
     At the initial scheduling conference, counsel should be fully prepared to discuss their
preference for referral to the Court Mediation Panel or to private mediation and when the
mediation should occur. The Court will enter an Order/Referral to ADR at or around the time
of the scheduling conference.


                                                     Clerk, U.S. District Court

 May 24, 2016                                        By /s/ Jenny Lam
     Date                                            Deputy Clerk

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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                NOTICE TO PARTIES: COURT POLICY ON SETTLEMENT
               AND USE OF ALTERNATIVE DISPUTE RESOLUTION (ADR)
             Counsel are required to furnish and discuss this Notice with their clients.


      Despite the efforts of the courts to achieve a fair, timely and just outcome in all cases,
litigation has become an often lengthy and expensive process. For this reason, it is this Court's
policy to encourage parties to attempt to settle their disputes, whenever possible, through
alternative dispute resolution (ADR).
     ADR can reduce both the time it takes to resolve a case and the costs of litigation,
which can be substantial. ADR options include mediation, arbitration (binding or
non−binding),neutral evaluation (NE), conciliation, mini−trial and fact−finding. ADR can
be either Court−directed or privately conducted.
     The Court's ADR Program offers mediation through a panel of qualified and impartial
attorneys who will encourage the fair, speedy and economic resolution of civil actions.
Panel Mediators each have at least ten years of legal experience and are appointed by the
Court. They volunteer their preparation time and the first three hours of a mediation
session. This is a cost−effective way for parties to explore potential avenues of resolution.
      This Court requires that counsel discuss with their clients the ADR options available
and instructs them to come prepared to discuss the parties' choice of ADR option (settlement
conference before a magistrate judge; Court Mediation Panel; private mediation) at the
initial scheduling conference. Counsel are also required to indicate the client's choice of
ADR option in advance of that conference. See Civil L.R. 26−1(c) and Fed.R.Civ.P. 26(f).
      Clients and their counsel should carefully consider the anticipated expense of litigation,
the uncertainties as to outcome, the time it will take to get to trial, the time an appeal will
take if a decision is appealed, the burdens on a client's time, and the costs and expenses of
litigation in relation to the amounts or stakes involved.
     With more than 15,000 civil cases filed in the District in 2012, less than 1 percent
actually went to trial. Most cases are settled between the parties; voluntarily dismissed;
resolved through Courtdirected or other forms of ADR; or dismissed by the Court as
lacking in merit or for other reasons provided by law.
     For more information about the Court's ADR Program, the Mediation Panel, and the
profiles of mediators, visit the Court website, www.cacd.uscourts.gov, under "ADR."




ADR−08 (05/13)            NOTICE TO PARTIES OF COURT−DIRECTED ADR PROGRAM
